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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF NORTH DAKOTA
                               WESTERN DIVISION

                                        )
ENERGY TRANSFER EQUITY, L.P., and       )    Case No. 17-cv-00173-DLH-CSM
ENERGY TRANSFER PARTNERS, L.P.,         )
                                        )
            Plaintiffs,                 )    [Proposed] Amicus Curiae Brief of
                                        )    American Civil Liberties Union,
      v.                                )    American Civil Liberties Union of
                                        )    North Dakota, American Civil
GREENPEACE INTERNATIONAL (aka           )    Liberties Union of South Dakota,
“STICHTING GREENPEACE COUNCIL”);        )    Natural Resources Defense Council,
GREENPEACE, INC.; GREENPEACE FUND,      )    ARTICLE 19, Brennan Center for
INC.; BANKTRACK (aka “STICHTING         )    Justice, First Amendment Coalition,
BANKTRACK”); EARTH FIRST!; and JOHN     )    and Rockefeller Brothers Fund in
AND JANE DOES 1-20,                     )    Support of Defendants’ Motions to
                                        )    Dismiss
            Defendants.                 )
                                        )
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                                      INTRODUCTION

       The proposal to construct the Dakota Access Pipeline intensified a vital public

debate about the role of fossil fuels in this country’s future, and the role of government in

that debate. Plaintiffs (ETP) wanted to build the oil pipeline; Defendants Greenpeace

International, Greenpeace, Inc., and BankTrack (Defendants)—along with many others—

spoke out and campaigned against it.1 Defendants employed time-honored, lawful means to

advance their views, protected by core constitutional rights of free speech and association.

In response to that advocacy, ETP has attacked them under cover of the Racketeer

Influenced and Corrupt Organizations Act (RICO), its North Dakota equivalent, defamation,

tortious interference with business, and common-law conspiracy, seeking nearly one

billion dollars in damages and attorneys’ fees. If permitted to proceed beyond the pleading

phase, this litigation would have the inevitable and impermissible consequence of stifling

the activities of law-abiding nonprofit advocacy organizations across the political

spectrum, upending democratic principles rooted in the First Amendment. Amici urge the

Court to dismiss the complaint.

                                    INTERESTS OF AMICI

       The American Civil Liberties Union (ACLU) is a nationwide, nonprofit, nonpartisan

public-interest organization of more than 1.5 million members dedicated to defending the

civil liberties guaranteed by the Constitution. The ACLU of North Dakota and the ACLU of

South Dakota are, respectively, the North Dakota and South Dakota chapters of the ACLU.

The protection of the First Amendment rights of free speech and association are of special



       1 Amici also support Greenpeace Fund, Inc.’s November 28, 2017, Motion to Dismiss
for Failure to State a Claim, ECF No. 38.
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concern to the ACLU, which has been at the forefront of numerous state and federal cases

addressing those rights. To fund its advocacy, the ACLU depends on contributions from

citizens and charitable foundations.

       The Natural Resources Defense Council (NRDC) is a nonprofit, nonpartisan public-

health and environmental advocacy organization with more than 400,000 members across

the United States. To pursue its mission, NRDC often speaks out and litigates on

controversial issues of public concern. Financial contributions from members and other

donors fund NRDC’s varied activities.

       ARTICLE 19 is an international human-rights organization that defends and

promotes freedom of expression and freedom of information. ARTICLE 19 considers

freedom of expression to be a fundamental human right, and advocates for that right in the

United States and across the world.

       The Brennan Center for Justice is a nonpartisan public-policy and law institute that

focuses on the fundamental issues of democracy and justice. The Brennan Center regularly

participates in public debate on contentious issues, including national security and

detainee policy, mass incarceration, and money in politics. Public donations support the

Brennan Center’s work.

       The First Amendment Coalition (FAC) is a nonprofit public-interest organization

dedicated to advancing free speech, more open and accountable government, and public

participation in civic affairs. To advance its mission to protect and promote freedom of

expression and the people’s right to know, the FAC engages in strategic litigation, free legal

consultations, educational and informational programs, legislative oversight of bills, and

public advocacy.


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       The Rockefeller Brothers Fund (Fund) is a private foundation helping to advance

social change that contributes to a more just, sustainable, and peaceful world. Through its

grantmaking, the Fund supports efforts to expand knowledge, clarify values and critical

choices, nurture creative expression, and shape public policy. The Fund’s programs are

intended to develop leaders, strengthen institutions, engage citizens, build community, and

foster partnerships that include government, business, and civil society. Grant programs

are organized around three themes: Democratic Practice; Peacebuilding; and Sustainable

Development. The Fund strives to promote philanthropic excellence and to enhance the

effectiveness of the nonprofit sector, a goal that includes supporting charitable

organizations to educate and advocate on issues of public concern. The Fund and its

grantees depend on First Amendment protections to express views and collaborate in their

charitable and programmatic work.

       Amici share a commitment to the vitality of First Amendment values, which protect

their advocacy efforts. They thus have a strong interest in ensuring that courts apply RICO

and common-law tort doctrine in a manner consistent with First Amendment freedoms.

                                   SCOPE OF ARGUMENT

       The purpose of this amicus brief is to highlight for the Court the danger that ETP’s

liability theories pose to the freedom of nonprofit advocacy groups to pursue their

legitimate and lawful missions. Under ETP’s theories, ordinary political speech that runs

counter to a corporation’s business interests could expose the speaker to enormous,

unwarranted liability. Public campaigns, routine fundraising appeals, conversations with

allies, and vindication of legal rights in court could all be targeted. Law-abiding

organizations could be held liable for the alleged unlawful acts of others who are connected


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solely by a shared viewpoint. Even when a plaintiff’s criminal and tort claims are ultimately

deemed meritless, the credible threat of a drawn-out lawsuit will chill protected activity.

For these reasons, claims like those presented by ETP must be evaluated carefully at the

pleading stage. Here, ETP’s claims do not survive scrutiny.

                                         ARGUMENT

I.     ETP’s RICO Claims Should Be Dismissed

       A.     The acts ETP alleges to be mail fraud, wire fraud, and extortion are in
              fact protected speech

       ETP would transform Defendants’ public speech on important political issues into

acts of mail fraud, wire fraud, and extortion punishable under RICO and its North Dakota

equivalent. Compl. ¶¶ 372-73, 392, 399, 408-13. First, ETP alleges that some of Defendants’

statements are attempts to defraud the public because they may encourage donations.

Compl. ¶¶ 373-77. Next, ETP claims that legitimate calls for banks to withdraw funding for

the Dakota Access Pipeline constitute extortion because they harm ETP while “provid[ing]

a substantial benefit to [Defendants and other purported enterprise members] in the form

of enhanced fundraising potential.” Compl. ¶ 379. These claims are baseless and at odds

with bedrock First Amendment principles.

       To support its fraud allegations, ETP identifies six categories of statements—many

of which were made by nondefendants—that it characterizes as “false”: (1) that the Dakota

Access Pipeline “crosses tribal land in violation of tribal sovereignty,” Compl. ¶ 119 n.1; (2)

that the pipeline “will poison and contaminate water,” Compl. ¶ 129 n.2; (3) that the

pipeline “poses catastrophic risk to climate change,” Compl. ¶ 141 n.3; (4) “that [ETP] and

its private security contractors indiscriminately used excessive force on peaceful

protesters,” Compl. ¶ 146 n.4; (5) “that the consultation and environmental review

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processes for [the Dakota Access Pipeline] were rushed and inadequate,” Compl. ¶ 159 n.5;

and (6) “that [ETP] and [Dakota Access Pipeline] construction workers deliberately

destroyed culturally significant sites,” Compl. ¶ 212 n.8.

        “[E]xpression on public issues ‘has always rested on the highest rung of the

hierarchy of First Amendment values.’” NAACP v. Claiborne Hardware Co., 458 U.S. 886, 913

(1982) (quoting Carey v. Brown, 447 U.S. 455, 467 (1980)) (holding that the First

Amendment protected picketing and a boycott of white merchants to advance racial

justice). Each category of statements targeted by ETP speaks to an issue of public concern:

respect for tribal rights and values; the environmental consequences of a 1,172-mile-long

oil pipeline; confrontations with peaceful protesters; and compliance with environmental-

review procedures mandated by law. They are part of a robust public debate protected by

the First Amendment. ETP is free to contest this speech with speech of its own. See

Hollander v. CBS News Inc., No. 16 Civ. 6624 (PAE), 2017 WL 1957485, at *4 (S.D.N.Y. May

10, 2017) (urging plaintiffs “affronted by defendants’ speech” to employ “the time-honored,

out-of-court, remedy that Justice Brandeis famously identified”: “‘more speech’”) (quoting

Whitney v. California, 274 U.S. 357, 377 (1927) (Brandeis, J., concurring)). To allow RICO or

tort liability for disputed statements by a nonprofit organization would deny “the freedoms

of expression . . . the breathing space that they need . . . to survive.” N.Y. Times Co. v. Sullivan,

376 U.S. 254, 272 (1964) (internal quotation marks omitted) (quoting NAACP v. Button, 371

U.S. 415, 433 (1963)).

       ETP’s theory of extortion would likewise turn quintessentially political action—a

call for divestment—into a federal crime. ETP’s allegation that Defendants committed

extortion appears to be based on their campaigns to convince financial institutions to stop


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funding the Dakota Access Pipeline. Compl. ¶ 379; see generally Compl. ¶¶ 227-78. ETP

alleges that Defendants called on account holders to forgo banking with these institutions,

protested outside of bank offices, and wrote letters (cosigned by dozens or hundreds of

other organizations not named as defendants) to the banks highlighting what they saw as a

contradiction between the institutions’ social-responsibility commitments and ETP’s

actions. See generally Compl. ¶¶ 237-38, 240, 242-47, 250, 254, 262-63, 270-76.

       ETP’s claim of extortion is empty, because ETP does not (and cannot) allege that

Defendants “obtain[ed] . . . property from” ETP or the banks. 18 U.S.C. § 1951(b)(2); see also

Scheidler v. Nat’l Org. for Women, Inc., 537 U.S. 393, 409 (2003) (Where protesters “did not

obtain or attempt to obtain property from” the target of their protest, “there was no basis

upon which to find that they committed extortion under the Hobbs Act.”). But the

implications of the theory are breathtaking. If these activities constitute extortion, then any

charitable organization that mounts a successful public-relations campaign against

business interests could be liable to the target of its campaign for treble damages and

attorneys’ fees. This use of RICO would inhibit or foreclose public speech on any topic that

might drive away business from a company, an unacceptable infringement of First

Amendment freedoms. See Claiborne Hardware, 458 U.S. at 910 (“Speech does not lose its

protected character . . . simply because it may embarrass others or coerce them into

action.”).

       A common thread running through ETP’s fraud and extortion arguments is that

Defendants employ speech to enhance fundraising. E.g., Compl. ¶ 42. But speech that is part

of an appeal for donations retains its protected status. “[C]haritable appeals for funds . . .

involve a variety of speech interests—communication of information, the dissemination


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and propagation of views and ideas, and the advocacy of causes—that are within the

protection of the First Amendment.” Vill. of Schaumburg v. Citizens for a Better Env’t, 444

U.S. 620, 632 (1980). Attacking protected speech under a new theory does not eliminate

First Amendment concerns. See Beverly Hills Foodland, Inc. v. United Food & Commercial

Workers Union, Local 655, 39 F.3d 191, 196 (8th Cir. 1994) (“[A] plaintiff may not avoid the

protection afforded by the Constitution . . . merely by the use of creative pleading.”).

       B.     ETP’s theory of associated-in-fact enterprises would infringe on
              fundamental rights of speech and association

       ETP seeks to hold Defendants liable for acts of property destruction and cybercrime

that it attributes to nondefendant groups and individuals, under the theory that they are

part of a vast “illegal Enterprise.” Compl. ¶¶ 38, 313-40, 371, 380-81. ETP would punish

Defendants for the alleged actions of unrelated parties on the sole ground that they

advocated for the same cause. This expansive vision of RICO liability clashes with First

Amendment freedoms of speech and association.

       For example, ETP tries to connect Defendants to Bold Iowa because, ETP alleges, the

umbrella organization to which Bold Iowa belongs “widely disseminat[ed] the Enterprise’s

. . . disinformation” and “spread[] malicious and sensational lies about [ETP] and [the

Dakota Access Pipeline].” Compl. ¶ 38(n). Similarly, ETP attempts to connect Defendants to

Mississippi Stand on the sole ground that two of that organization’s members “were incited

by the Enterprise’s misinformation campaign” to vandalize pipeline infrastructure. Compl.

¶ 38(s). Finally, ETP’s assertion that the group Anonymous is a “front” for Defendants is

predicated entirely on ETP’s claim that Anonymous launched a campaign against the same

targets as Defendants, at a time when the alleged Enterprise’s campaign was particularly

active. Compl. ¶ 332. These purported connections are a thin reed on which to base a claim

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of racketeering, particularly given the applicable heightened pleading requirements for

fraud. Fed. R. Civ. P. 9(b). See Murr Plumbing, Inc. v. Scherer Bros. Fin. Servs. Co., 48 F.3d

1066, 1069 (8th Cir. 1995) (citing Flowers v. Cont’l Grain Co., 775 F.2d 1051, 1054 (8th Cir.

1985)); Crest Constr. II, Inc. v. Doe, 660 F.3d 346, 353 (8th Cir. 2011) (citing Nitro Distrib.,

Inc. v. Alticor, Inc., 565 F.3d 417, 428 (8th Cir. 2009), and quoting Summerhill v. Terminix,

Inc., 637 F.3d 877, 880 (8th Cir. 2011)); see also Resolute Forest Prods., Inc. v. Greenpeace

Int’l, No. 17-cv-02824-JST, 2017 WL 4618676 (N.D. Cal. Oct. 16, 2017) (RICO claims

analogous to ETP’s, and advanced by same counsel, dismissed by district court).

       ETP’s theory would deter speech and association related to any issue that might

provoke various forms of protest, that is to say, almost any controversial matter of public

import about which people hold passionate views—the decision to go to war, the barring of

immigrants from certain nations, the boundaries of police officers’ actions, the legality of

abortion, and the tension between federal authority and local control, to name just a few.

Each of these issues generates vast amounts of protected speech and, in extreme cases,

unlawful acts or even violence. If an organization calls for a peaceful demonstration and a

handful of demonstrators break windows, only that handful of law-breakers should be held

accountable for the damage. “For liability to be imposed by reason of association alone, it is

necessary to establish that . . . the individual held a specific intent to further those illegal

aims.” Claiborne Hardware, 458 U.S. at 920. ETP makes only conclusory statements of

Defendants’ intent, unsupported by any factual allegation. E.g., Compl. ¶ 383. Rhetoric and

length are not a substitute for substance.

       ETP’s liability theory could ensnare Amici. For example, NRDC, which does not

engage in civil disobedience, might publish a scientific paper on the adverse human health


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effects of pesticides, and file a lawsuit challenging a government initiative to weaken

pesticide regulation. These acts might be accompanied by a plea to NRDC members to

financially support the anti-pesticide campaign. A separate group, known or unknown to

NRDC, might organize a protest at a pesticide plant, during which a protestor might

trespass on private property. Under ETP’s RICO theory, NRDC could be liable to the

pesticide company for treble damages and attorneys’ fees for that protestor’s action

because NRDC shared a substantive point of view (pesticides need to be regulated more

strictly) with a person who broke the law while expressing that view.

       To take another example, the ACLU, which also does not engage in civil

disobedience, might file a lawsuit challenging a surveillance program operated by the

National Security Agency and government contractors. The lawsuit might be accompanied

by a press release describing the program as “Orwellian” and discussing the sorts of private

information it could be used to obtain, and by an email to ACLU members and supporters

urging them to protest the program. A separate individual or group, known or unknown to

the ACLU, might hack the government contractors’ systems to stymie the program. Under

ETP’s RICO theory, the ACLU could be civilly liable to the contractors for treble damages

and attorneys’ fees, and could even face criminal charges, because it shared a substantive

point of view (the government’s surveillance programs sweep too broadly) with a person

or group that took unlawful measures to oppose government action.

       To vindicate the fundamental First Amendment right to associate, advocates must

be free to pursue a common cause with unrelated organizations without fear that they will

become RICO defendants.




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       C.     RICO claims such as ETP’s should be carefully scrutinized at the
              pleading stage to avoid chilling protected speech

       A RICO allegation is “the litigation equivalent of a thermonuclear device.” Miranda v.

Ponce Fed. Bank, 948 F.2d 41, 44 (1st Cir. 1991). The possibility of being dragged into a

RICO lawsuit poses serious, sometimes existential, risks to any organization. Nonprofit

organizations, which often lack significant financial resources and depend on public

goodwill, are especially vulnerable to these harms. The possibility of facing a RICO lawsuit

for the mere act of speaking out on a contentious issue may deter nonprofits from engaging

in political debate. While advocacy organizations are not immune to RICO suits, the

practical consequences of this type of litigation argue for careful scrutiny of the case’s

merits at the pleading stage.

       First, RICO’s civil-action provision allows plaintiffs to recover treble damages and

attorneys’ fees, amplifying the risks of litigation even when a defendant’s odds of losing a

suit are slim. 18 U.S.C. § 1964(c). Organizations may rationally decide not to engage in

public discourse on particular issues for fear of prompting a RICO suit. To the extent that

the threat of RICO liability chills organizations from soliciting donations necessary for their

operations, their very existence will be threatened.

       Second, RICO lawsuits can be burdensome to defend. Extensive staff time may be

necessary for document production, depositions, and working with counsel and co-

defendants. If the case rests, as this suit does, on the intent of members of the

organization’s staff in engaging in public speech and on the organization’s fundraising




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processes, a plaintiff may be able to obtain intrusive discovery into an organization’s

finances, donor-identification processes, and advocacy strategies.2

       Third, should a RICO plaintiff succeed in district court, a defendant organization may

be deterred from appealing by the prospect of a costly appeal bond. District courts can

require appellants to post a bond sufficient to cover the costs the appellant would have to

pay if the appeal is unsuccessful. Fed. R. App. P. 7. This can include attorneys’ fees in cases

where a fee-shifting statute applies, as in RICO. See In re Target Corp. Customer Data Sec.

Breach Litig., 847 F.3d 608, 615 (8th Cir. 2017). The cost of covering a corporate plaintiff’s

attorneys’ fees, on top of the other burdens outlined above, would debilitate many

nonprofit advocacy organizations.3

       Finally, RICO suits allow civil plaintiffs to allege federal crimes. “The mere assertion

of a RICO claim consequently has an almost inevitable stigmatizing effect on those named

as defendants.” Figueroa Ruiz v. Alegria, 896 F.2d 645, 650 (1st Cir. 1990). As ETP’s counsel

has written, the term “RICO” “conjures up images of wide-lapeled suits, Tommy guns, and

names like Lucky and Mugsy.” Will Test Case Earn an ‘A’ with the Supreme Court?, N.D. Emp.

L. Letter (Vogel Law Firm, Fargo, N.D.), Mar. 2006, at 4. This stigma alone could harm an

organization’s public image, undermine the effect of its advocacy, limit its fundraising



       2  Litigation burdens may extend to third parties purported to have participated in
the enterprise. Those groups too would face discovery, or at least the task of opposing a
plaintiff’s discovery demands. Given the breadth of the conspiracy ETP alleges here, this
burden could fall on a large number of nonprofit groups.

       3   While many organizations carry professional-liability insurance, a RICO defendant
will still face costs, win or lose. Some insurance policies do not cover RICO actions. If there
is coverage, the organization’s deductible will have to be paid, and its insurance provider
may raise its premium. In addition, RICO’s hefty damages provision could lead to a
recovery that exceeds a policy’s coverage cap.
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ability, and perhaps threaten its survival. In part for this reason, well-heeled businesses

subject to advocacy campaigns might relish the public-relations benefit of painting their

political adversaries as criminals, as well as the opportunity to impose significant litigation

costs on cash-strapped nonprofits.

        That advocacy organizations may be burdened by RICO lawsuits does not immunize

them from liability under the statute. But the harms faced by such organizations

underscore the serious threat posed by RICO litigation to the freedoms of speech and

association. Consequently, courts should be vigilant to “flush out frivolous RICO allegations

at an early stage.” Figueroa Ruiz, 896 F.2d at 650.

II.     ETP’s Defamation Claim Should Be Dismissed

        ETP also claims that Defendants’ advocacy against the Dakota Access Pipeline

amounted to defamation. Compl. ¶¶ 424-29. Like its RICO claims, ETP’s defamation claim

seeks to impose liability for political advocacy, in violation of the First Amendment.

        To state a claim for defamation, a defendant must allege a false assertion of fact;

statements of opinion do not qualify. See, e.g., Gertz v. Robert Welch, Inc., 418 U.S. 323, 340-

41 (1974). The Eighth Circuit uses a four-factor test to distinguish between statements of

fact and opinions, focusing on: (1) specificity, (2) verifiability, (3) literary context, and (4)

public context. See Janklow v. Newsweek, Inc., 788 F.2d 1300, 1302-04 (8th Cir. 1986) (en

banc). In this case, all four factors support the conclusion that Defendants’ allegedly

defamatory statements constitute statements of opinion entitled to First Amendment

protection, particularly insofar as they relate to matters of public concern.

        The first two factors require that an allegedly defamatory statement have a specific,

“singular[]” meaning that is “[]verifiable,” to prevent a fact finder from “exercising . . .


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personal dispositions regarding the contents of the statement, its author, or its subject.”

Price v. Viking Penguin, Inc., 881 F.2d 1426, 1432 (8th Cir. 1989) (citation and internal

quotation marks omitted). Even statements that seem superficially specific may fail the

specificity prong when considered in context. Deupree v. Iliff, 860 F.2d 300, 303 (8th Cir.

1988) (citing Ollman v. Evans, 750 F.2d 970, 982 (D.C. Cir. 1984)). And even statements that

could be put to a finder of fact in litigation may fail the separate verifiability prong if they

are not “objectively capable of proof or disproof.” Ollman, 750 F.2d at 981-82.

       Many of the allegedly defamatory statements in this case are not sufficiently specific

to meet this test. Some of the statements lack a singular meaning because they use

language that is open to interpretation. See Price, 881 F.2d at 1432. For example, the

meaning of Bill McKibben’s claim that “anyone who finances any fossil fuel infrastructure is

attempting to make money on the guaranteed destruction of the planet” depends on the

reader’s understanding of the word “destruction.” Compl. ¶ 141 n.3 (emphasis omitted);

see Resolute Forest Prods., 2017 WL 4618676, at *9 (noting that the term “destroy” is

susceptible to different interpretations, and could represent nothing more than the

speaker’s use of “obviously overemphatic speech”).

       In other cases, arguably precise statements “lose[] much of [their] fact-specific

quality” when considered alongside other statements in the same article or online post. See

Deupree, 860 F.2d at 303 (holding that statement lost its factual specificity when

considered together with other statements regarding the speaker’s “traditional moral

codes” and “middle class morality”). For instance, Michael Brune’s blog post claiming that

“[i]t has never been a question of whether a pipeline will spill but only of when the next

disaster will happen,” Compl. ¶ 129 n.2, also included references to prior pipeline spills. See


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Greenpeace International and Greenpeace, Inc.’s Mot. to Dismiss, app. E 43, ECF No. 40-16,

at 181. Viewed in the context of these prior spills, Mr. Brune’s statement could easily be

understood as argumentative opinion.4

       Many of the statements cited by ETP also “lack[] a plausible method of verification.”

Ollman, 750 F.2d at 979. “Lacking a clear method of verification with which to evaluate a

statement—such a[s] labelling a well-known American author a ‘fascist[]’—the trier of fact

may improperly tend to render a decision based upon approval or disapproval of the

contents of the statement, its author, or its subject.” Id. at 981 (citation omitted). That is

precisely the danger here. For example, whether Greenpeace Campaigner Mary Sweeters

accurately criticized the Dakota Access Pipeline approval process as “rushed” and lacking

“proper government-to-government consultation with [the Standing Rock Sioux Tribe],”

Compl. ¶ 159 n.5 (emphasis added) (internal quotation marks omitted), is a subjective

determination. Two people might reasonably disagree as to what “rushed” means, or what

“proper” consultation requires, based in large part on their opinions about ETP,

Defendants, Native rights, or the environment.

       The third factor, literary context, calls for an analysis of “the type of forum or ‘social

context’ in which the statement was made, the category of publication, its style of writing,

and the intended audience.” Secrist v. Harkin, 874 F.2d 1244, 1249 (8th Cir. 1989). A

context that suggests to readers that they are likely to hear or read the speaker’s opinion

undermines the contention that the statement is factual. See, e.g., Deupree, 860 F.2d at 303-



       4 The recent Keystone Pipeline spill in South Dakota demonstrates how Mr. Brune’s
opinion is grounded in the real risks posed by projects like the Dakota Access Pipeline. See
Valerie Volcovici & Richard Valdmanis, Keystone’s Existing Pipeline Spills Far More than
Predicted to Regulators, Reuters (Nov. 27, 2017, 7:02 AM), https://reut.rs/2BswKdp.
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04 (call-in radio show designed to foster debate on the appropriateness of sex education in

schools); Janklow, 788 F.2d at 1303-04 (Newsweek article criticizing motivations of a state

governor). The tone and context of editorials, for instance, generally signal that the author

is conveying an opinion, rather than statements of fact, for purposes of defamation. See

Price, 881 F.2d at 1433.

       In this case, the context in which the allegedly defamatory statements were made

strongly indicates that they were intended to express constitutionally protected political

opinions. The vast majority of the cited statements are in forms such as blog posts, brief

statements on Defendants’ websites, tweets, or press releases. See generally Compl. apps. A-

F. These forms of media are often more “polemical” and, “[b]ecause of obvious space

limitations,” more “condensed” than research monographs. Ollman, 750 F.2d at 986-87

(discussing newspaper editorial). Press releases and online postings written by political

advocacy organizations are “at least as likely to signal political opinion as a newspaper

editorial or political cartoon.” Secrist, 874 F.2d at 1249; see also SI03, Inc. v.

Bodybuilding.com, LLC, No. CV 07-6311-EJL, 2008 WL 11348458, at *8 (D. Idaho May 1,

2008) (providing examples of cases that treat internet communications like blog posts as

“casual expressions of opinion”).

       Often, the statements themselves are also “entirely political in context and in

wording,” plainly situating them as opinion. Secrist, 874 F.2d at 1250 (internal quotation

marks omitted). For example, BankTrack’s letter alleging that the Dakota Access Pipeline is

“cutting through Native American sacred territories and unceded Treaty lands,” Compl.

¶ 118 n.1, begins as a personal request from the undersigned organizations to the Equator

Principles Association’s Chair, Nigel Beck. See Greenpeace International and Greenpeace,


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Inc.’s Mot. to Dismiss, app. A 14, ECF No. 40-12, at 63. The letter’s section on the pipeline

continues in the same vein, grounding its call to action in the first person. See id. at 65. The

letter describes the situation as “a national crisis and an international scandal,” and notes

that the “world is closely watching.” Id. The letter’s first-person style, argumentative tone,

and political context inform the “intended audience” that the letter, as a whole, is “a

statement of [Mr. Frijns’s] position,” Deupree, 860 F.2d at 304.

       Because the allegedly defamatory statements also touch on matters of public

concern, they implicate the fourth Janklow factor: public context. This factor requires the

court to consider “the public or political arena in which the statement is made and whether

the statement implicates core values of the First Amendment.” Janklow, 788 F.2d at 1303.

As discussed above, the public has a recognized interest in ensuring that “debate on public

issues [is] uninhibited, robust, and wide-open.” N.Y. Times Co., 376 U.S. at 270. To protect

this interest, statements that “played a role in a public debate” are more likely to be viewed

as opinion rather than fact, even where such statements are otherwise “subject to

verification.” Price, 881 F.2d at 1433 (citation omitted).

       Here, the claims relating to the Dakota Access Pipeline’s crossing tribal land,

poisoning local water, lacking appropriate review or consultation, and destroying cultural

resources are grounded in “issue[s] of national importance,” including “the treatment of

Indian people.” Janklow, 788 F.2d at 1305; see also, e.g., McGee v. Pub. Water Supply, Dist. #2,

471 F.3d 918, 920 (8th Cir. 2006) (“Environmental and public safety issues are obvious

examples of matters that are of concern to the general public.”). For example, criticism of

ETP’s “rush[] to bulldoze and destroy ancestral burial grounds,” Compl. ¶ 212 n.8, attacks

on its “climate-wrecking business model,” Compl. ¶ 258, and expressions of concern about


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“human rights abuses” by ETP personnel, Compl. ¶ 250, all constitute core political speech

on matters of significant public concern. Such speech must be protected from liability to

ensure the robust public debate guaranteed by the First Amendment.5

III.     ETP’s Tortious-Interference and Civil-Conspiracy Claims Should Be Dismissed

         ETP piles on to its complaint claims for tortious interference with business and civil

conspiracy. Compl. ¶¶ 430-42. These claims target the same protected speech and

association that bar the RICO and defamation claims. While this brief does not address

those claims in detail, Amici note that ETP cannot circumvent the First Amendment by

recasting its defamation claims as tortious interference or civil conspiracy. Claiborne

Hardware, 458 U.S. at 891, 915 (applying First Amendment protections to state-law claims,

including “malicious interference with the plaintiffs’ businesses”); accord Jefferson Cty. Sch.

Dist. No. R-1 v. Moody’s Inv’r’s Servs., Inc., 175 F.3d 848, 857 (10th Cir. 1999); cf. Hustler

Magazine, Inc. v. Falwell, 485 U.S. 46, 53-54 (1988) (applying First Amendment protections

to intentional infliction of emotional distress).




         ETP is also a public figure for First Amendment purposes. See Gertz, 418 U.S. at
         5

342, 345. It played more than “a substantial role” in the controversy over the Dakota Access
Pipeline, Price, 881 F.2d at 1431; it is the primary owner of the project. Compl. ¶¶ 30-31.
ETP and the Dakota Access Pipeline have been the subject of countless “news accounts and
editorials,” Price, 881 F.2d at 1431. E.g., Amy Dalrymple, Audio: Tribe Objected to Pipeline
Nearly 2 Years Before Lawsuit, Bismarck Trib. (Nov. 30, 2016),
http://bismarcktribune.com/news/state-andregional/audio-tribeobjected-to-
pipelinenearly-years-beforelawsuit/article_51f94b8b-1284-5da9-92ec-
7638347fe066.htm; Chiara A. Sottile, Police Fire Rubber Bullets as Pipeline Protesters Try to
Protect Sacred Site, NBC News (Nov. 2, 2016, 6:35 PM), http://nbcnews.to/2fFDn4n; Bill
McKibben, Why Dakota Is the New Keystone, N.Y. Times (Oct. 28, 2016),
https://nyti.ms/2jD89Jg. Moreover, ETP’s economic impact is enormous, see Compl. ¶ 30
(noting ETP’s “annual revenues of approximately $40 billion”), and the “criticism of [its]
actions . . . implicat[es] the type of public debate at the core of the first amendment.” Price,
881 F.2d at 1431.
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                                        CONCLUSION

        ETP’s RICO liability theory could strip key rights to free speech and association from

any charitable organization that solicits donations. It would make innocent parties liable

for the criminal acts of others simply because they advocate for the same cause. ETP’s

rewriting of RICO and defamation law would empower any plaintiff with sufficient funding

and disregard for open political debate to threaten dissident groups with high litigation

costs and reputational injury. Shorn of its excessive rhetoric, the complaint accuses

Defendants of advocacy, not racketeering. Amici urge the Court to dismiss ETP’s complaint

in its entirety.

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Dated: December 5, 2017           Respectfully submitted,

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